                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
                                                   )       No. 3:10-cr-00065
                                                   )       Judge Trauger
v.                                                 )
                                                   )
QUINCY MAURICE FUQUA,                              )


                                          ORDER

       Pending before the court is Quincy Fuqua’s pro se motion for relief pursuant to 18 U.S.C.

§ 3582 (Docket No. 437), to which the government has responded in opposition (Docket No. 455).

       For the reasons explained in the memorandum entered contemporaneously herewith, the

defendant’s motion is hereby DENIED.

       It is so ORDERED.




                                            Aleta A. Trauger
                                            United States District Judge




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